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8                          UNITED STATES DISTRICT COURT
9                        SOUTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA                 Case No.: 19cr2210-LAB
12                                Plaintiff,
                                               ORDER DENYING MOTION FOR
13    v.                                       REDUCTION OF SENTENCE
                                               [Dkt. 34]
14    OMAR RAMON HERNANDEZ
      HIDALGO
15
                               Defendant.
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           In 2020, Omar Ramon Hernandez-Hidalgo (“Hernandez-Hidalgo”) pled guilty
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     to Importation of Methamphetamine and Importation of Fentanyl in violation of 21
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     U.S.C. §§ 952 and 960. The Court imposed a total sentence of 71 months followed
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     by 3 years of supervised release. According to the BOP website, his projected
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     release date is June 2, 2024. Hernandez-Hidalgo moves for a reduction of
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     sentence under 18 U.S.C. § 3582(c)(1)(A), which permits a court to modify a
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     defendant’s term of imprisonment if it concludes that “extraordinary and
24
     compelling” reasons merit a reduction after considering the factors presented in 18
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     U.S.C. § 3553(a).
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           Hernandez-Hidalgo requests the Court reduce his sentence to time served
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     because he is obese and “has a history of type II diabetes.” (Dkt. 24 at 7). He
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1    contends these conditions increase his susceptibility to COVID-19. In support of
2    his claim, he states that before his time in custody he “received a type II diabetes
3    diagnosis.” (Id.). However, Hernandez-Hidalgo also admits that his “most recent
4    blood work indicated that his A1C levels did not rise to the level of diabetes.” (Dkt.
5    34 at 8). Hernandez-Hidalgo makes no claims that he has suffered any serious
6    health problems resulting from his obesity, type II diabetes, or COVID-19, since
7    his incarceration. The Government opposes his motion arguing that relief should
8    be denied because obesity alone, with no other serious conditions, does not
9    constitute an “extraordinary and compelling” reason to justify compassionate
10   release. (Dkt. 36 at 3-4).
11         As the Government points out, many courts have denied relief under similar
12   circumstances. (Id. at 4–5); see United States v. Gonzalez, No. 14-CR-1445-L-1,
13   2021 WL 2715575, at *3 (S.D. Cal. July 1, 2021) (“[O]besity on its own, without
14   any medical conditions resulting from the elevated BMI, can be insufficient to
15   demonstrate extraordinary and compelling reasons to grant relief.”); United States
16   v. Votaw, No. 11CR514, 2020 WL 3868468 (E.D. Cal. July 9, 2020) (holding that
17   a BMI of 37.9 with no “other serious, underlying health conditions” “fails to
18   persuade the Court that [the] medical condition qualifies as an ‘extraordinary and
19   compelling’ reason for release”). And while obesity may increase Hernandez-
20   Hidalgo’s risk of becoming ill from COVID-19, see CDC, People with Certain
21   Medical    Conditions,       https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
22   precautions/people-with-medical-conditions.html       (accessed    Oct.   15,   2021)
23   (overweight, obesity, or severe obesity “can make you more likely to get severely
24   ill from COVID-19”), he does not suggest that he has suffered from any other
25   physical or medical conditions that would present extraordinary and compelling
26   reasons to modify his sentence. Nor has he demonstrated that his conditions
27   substantially diminish his ability to provide self-care or that he can’t be effectively
28   treated within the correctional facility. U.S.S.G. § 1B1.13, App. Note 1(A)(ii)(I).

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1    Hernandez-Hidalgo likewise hasn’t established that the facility where he is housed
2    is unable to safeguard his health during the remainder of his sentence. Indeed,
3    none of the inmates at the facility where Hernandez-Hidalgo is incarcerated
4    currently have active COVID-19 cases. Bureau of Prisons, BOP: COVID-19
5    Update, https://www.bop.gov/coronavirus/ (last accessed Oct. 15, 2021).
6         Equally important, the § 3553(a) factors continue to support the imposition
7    of Hernandez-Hidalgo’s original sentence. His offenses – distribution of 123
8    pounds of methamphetamine and 12 pounds of fentanyl were unquestionably
9    serious and the Court finds that the sentence imposed represented “just
10   punishment,” and that there is a continuing need for deterrence under
11   § 3553(a)(2)(B). In sum, Hernandez-Hidalgo hasn’t demonstrated “extraordinary
12   and compelling reasons” to warrant a reduction of his sentence, or that his health
13   conditions outweigh the need for him to complete his sentence. His Motion for
14   early release is DENIED.
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16        IT IS SO ORDERED.
17   Dated: October 28, 2021
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19                                         Honorable Larry Alan Burns
                                           Chief United States District Judge
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